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 NOT FOR PUBLICATION
                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY

                                                            :
     TEVA BRANDED PHARMACEUTICAL                            :
     PRODUCTS R&D, INC., and NORTON                         :    Civil Action No. 20-10172 (JXN) (MAH)
     (WATERFORD) LTD.,                                      :      (Consolidated with Civil Action Nos.
                               Plaintiffs,                  :            20-14833 and 20-14890)
                                                            :
                             v.                             :               MARKMAN OPINION
                                                            :
     CIPLA LTD., AUROBINDO PHARMA                           :
     LLC, AUROBINDO PHARMA USA,                             :
     INC., and AUROLIFE PHARMA LLC,                         :
                             Defendants.                    :


 NEALS, District Judge:

          Before this Court are the briefs and supporting materials of Plaintiffs Teva Branded

 Pharmaceutical Products R&D, Inc. and Norton (Waterford) Ltd. (collectively, “Plaintiffs” or

 “Teva”) and Defendants Cipla Ltd., Aurobindo Pharma Ltd., Aurobindo Pharma USA, Inc., and

 Aurolife Pharma LLC (collectively, “Defendants”) regarding their request for patent claim

 construction pursuant to Local Patent Rule 4.5(a). This Court has jurisdiction over this action

 pursuant to 28 U.S.C. §§ 1331, 1338(a), 2201, and 2202. Venue is proper under 28 U.S.C. §§

 1391(b) and 1400(b). This Court held a Markman 1 hearing on November 30, 2021 regarding

 patent claims in Plaintiffs’ U.S. Patent Nos. 9,463,289 (“the ’289 Patent”); 9,808,587 (“the ’587

 Patent”); 10,086,156 (“the ’156 Patent”); 10,561,808 (“the ’808 Patent”); and 10,695,512 (“the

 ’512 Patent”). After carefully considering the parties’ written and oral arguments, this Court

 construes the nineteen disputed claim terms as discussed below. 2


 1
  Markman v. Westview Instruments Inc., 52 F.3d 967 (Fed. Cir. 1995).
 2
  For sake of clarity, the Court notes that some of the terms have been grouped together by the parties. The Court also
 notes that since the parties submitted their Markman disputes, the Court has entered several stipulations and orders
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         I.       BACKGROUND

         The five Asserted Patents relate to Teva’s Qvar® product, which was U.S. Food and Drug

 Administration (“FDA”) approved for maintenance treatment of asthma as prophylactic therapy in

 patients 5 years of age and older. Teva Br. at 2, ECF No. 110; Compl. ¶ 15. Teva asserts that

 Defendants infringed the patents in suit by filing an Abbreviated New Drug Application

 (“ANDA”) No. 211434 to the FDA seeking approval to commercially manufacture, use, offer for

 sale, sell, and/or import generic versions of Teva’s Qvar®. Id. Teva commenced this lawsuit on

 August 7, 2020, and the case was later consolidated with Civil Action Nos. 20-14833 and 20-

 14890. Compl.; see ECF No. 40. The parties filed their opening Markman briefs on August 6,

 2021 [ECF Nos. 109, 110] and their responsive briefs on September 24, 2021 [ECF Nos. 115,

 116]. The Court held oral argument on the parties Markman dispute on November 30, 2021. The

 dispute is now ripe for the Court to decide.

         II.      LEGAL STANDARD

         Patent claim construction is a matter of law for the court. Markman, 52 F.3d 967, 979

 (Fed. Cir. 1995). During interpretation of a claim, courts should initially look to intrinsic evidence,

 namely “the patent claims, the specification and the prosecution history if in evidence.” Bristol-

 Myers Squibb Co. v. Immunex Corp., 86 F. Supp. 2d 447, 448 (D.N.J. 2000). “[I]ntrinsic evidence

 is the most significant source of the legally operative meaning of disputed claim language.”

 Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996). “The court should

 presume that the terms in the claim mean what they say, and, unless otherwise compelled, give

 full effect to the ordinary and accustomed meaning of claim terms.” Bristol-Myers Squibb Co., 86

 F. Supp. 2d at 448. A person of ordinary skill in the art “is deemed to read the claim term . . . in


 dismissing certain patents from this case. See ECF Nos. 144, 150, and 173. Thus, some of the terms construed herein
 may longer be relevant to this case.

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 the context of the entire patent.” Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005);

 see Medrad, Inc. v. MRI Devices Corp., 401 F.3d 1313, 1319 (Fed. Cir. 2005) (“We cannot look

 at the ordinary meaning of the term . . . in a vacuum. Rather, we must look at the ordinary meaning

 in the context of the written description and the prosecution history.” (citation omitted)); see also

 Markman, 52 F.3d at 979.

        If the intrinsic evidence alone will not resolve the ambiguity, the Court may rely on

 extrinsic evidence, which includes expert testimony, treatises, dictionaries, and articles. Bristol-

 Myers Squibb Co., 86 F. Supp. 2d at 448–49. Extrinsic evidence may not be used to vary or

 contradict the meaning established by the intrinsic evidence. Phillips, 415 F.3d at 1318–19, 1324.

 “The construction that stays true to the claim language and most naturally aligns with the patent’s

 description of the invention will be . . . the correct construction.” Id. at 1316. A key aspect of

 claim construction is to assist the jury in understanding complicated language and concepts. See

 Encap LLC v. Oldcastle Retail, Inc., Civ. No. 11-808, 2012 WL 2339095, at *9 (E.D. Wis. June

 19, 2012) (“Claim construction is not intended to allow for needless substitution of more

 complicated language for terms easily understood by a lay jury.”); AFG Indus., Inc. v. Cardinal

 IG Co., Inc., 239 F.3d 1239, 1247 (Fed. Cir. 2001) (“It is critical for trial courts to set forth an

 express construction of the material claim terms in dispute, in part because the claim construction

 becomes the basis of the jury instructions, should the case go to trial. It is also the necessary

 foundation of meaningful appellate review.” (Citation omitted)).




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          III.   ANALYSIS

     1.   “actuation member”

  Term                   Teva’s Proposed                Defendants’ Proposed        Court’s
                         Construction                   Construction                Construction
  “actuation             “a component of the            “pin arranged to engage     “a component of
  member”                dose counter’s actuator        with a medicament           the dose counter’s
                         that transmits motion          canister and effect         actuator that
                         from the canister to the       movement causing the        transmits motion
                         actuator”                      dose counter to record a    from the canister
                                                        count”                      to the actuator”


          The parties dispute whether the term “actuation member” must be a pin and whether its

 construction should recite the purpose of the movement of the actuation member. Defendants

 point to the specification, Applicants’ argument during prosecution, and the Examiner’s reason for

 allowance, and argue that the term “actuation member” is limited to a pin and that their

 construction should recite the purpose of the movement of the actuation member. Def.’s Br. at 13-

 15, ECF No. 109. Defendants assert that its construction most accurately captures the structure

 disclosed in the specification and the purpose of the “actuation member” in view of the intrinsic

 record. Id. In support of their argument, Defendants note that the “actuation member” and “the

 central outlet port are arranged in a particular configuration to prevent canister rocking ‘towards

 the position of the dose counter actuation member, which rocking can change the height of the

 actuation member and thereby undesirably alter the accuracy of the dose counter.’” See Def.’s

 Br. at 16 (citing ’289 Patent Prosecution History, March 7, 2016 Office Action Response (Ex. 6)

 at 5). Moreover, Defendants note that applicants repeatedly refer to the actuation member as a pin

 and use the terms “actuation member” and “actuation pin” interchangeably. Id. As a result,

 Defendants contend that “it is clear from the intrinsic record that the ‘actuation member’ is a ‘pin.’”

 Id. at 14.



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        Teva argues that the term “actuation member” should be construed to mean “a component

 of the dose counter’s actuator that transmits motion from the canister to the actuator.” Teva Br. at

 11, ECF No. 110. Teva contends that Defendants’ proposed construction inappropriately limits

 the claim to a preferred embodiment and seeks to import the purpose of the actuation member into

 its construction. Moreover, Teva argues that the specification’s description of the actuation

 member in a particular embodiment as “comprising” a pin does not prohibit the actuation member

 from taking a different form in other embodiments. Id. at 14. According to Teva, the patentee

 used the narrower term “actuation pin” when describing figures depicting an embodiment with a

 pin shaped actuation member but used the broader term “actuation member” in elsewhere in the

 specification. Id. at 16 (citing ’289 Patent, 6:31-62). Teva notes that the patentee clearly used two

 terms that had two different meanings and selected the broader term for use in the claims. Augme

 Techs., Inc. v. Yahoo! Inc., 755 F.3d 1326, 1333 (Fed. Cir. 2014) (“[D]ifferent claim terms are

 presumed to have different meanings.” (quoting Helmsderfer v. Bobrick Washroom Equip., Inc.,

 527 F.3d 1379, 1382 (Fed. Cir. 2008)). As a result, Teva argues that Defendants may not undo the

 patentee’s selection by equating the broad term the patentee chose with the narrower one that they

 prefer. Teva Br. at 16. The Court agrees.

        Teva’s construction comports with the claim and specification. Defendants’ construction,

 on the other hand, seeks to import the purpose of the term into its construction, a practice the

 Federal Circuit routinely rejects. See e.g., Toshiba Corp. v. Imation Corp., 681 F.3d 1358, 1368

 (Fed. Cir. 2012); Powell v. Home Depot U.S.A., Inc., 663 F.3d 1221, 1233 (Fed. Cir. 2011).

 Defendants also seek to import limitations from the preferred embodiments into the claim. Teva

 is correct that limiting “actuation member” in this way would be inconsistent with the patents’

 specification, which makes “clear that the figures illustrate only embodiments of the invention,



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 rather than defining the invention as a whole.” Teva Br. at 15. Teva “did not need to include a

 drawing” of a non-pin actuation member in order to claim one. CCS Fitness, Inc. v. Brunswick

 Corp., 288 F.3d 1359, 1367 (Fed. Cir. 2002).            Accordingly, the Court will adopt Teva’s

 construction.

    2. “[lying or lie] in a common plane coincident with the longitudinal axis X”
  Term                   Teva’s Proposed             Defendants’ Proposed        Court’s
                         Construction                Construction                Construction
  “[lying or lie] in a   “Features lie on a          “aligned in a single        “aligned in a single
  common plane           common plane                plane such that a           plane such that a
  coincident with        coincident with the         straight line can be        straight line can be
  the longitudinal       longitudinal axis X if it   drawn through the           drawn through the
  axis X”                is possible to draw a       center of the central       center of the central
                         straight line connecting    outlet port, a canister     outlet port, the
                         those features that         support formation           canister support
                         passes through the          located directly adjacent   formation, and the
                         center of the stem          to the actuation            actuation member”
                         block.”                     member, and the
                                                     actuation member”


         The parties sole dispute with respect to this term is whether the canister support formation

 in the configuration must be located directly adjacent to the actuation member. Teva argues that

 Defendants improperly import an additional requirement: that a canister support formation cannot

 “lie in a common plane” with the other specified features unless that canister support formation is

 also “located directly adjacent to the actuation member.” Teva Br. at 17, ECF No. 110. Teva

 contends that Defendants’ construction is utterly divorced from the language of the claims, finds

 no support in the specification, and directly contradicts the prosecution history, in which Teva

 removed such an “adjacency” requirement from its claims. The Court agrees.

         Urging the Court to adopt their construction, Defendants contend that the canister support

 formation must be located directly adjacent to the actuation member to accomplish its stated

 purpose—preventing rocking in the direction of the actuation member. Defendants argue that


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 during prosecution, the Applicants highlighted the particularly claimed arrangement of the

 actuation member, canister support formation, and central outlet port as an allegedly novel feature.

 In support of their argument, Defendants point to the following excerpt from the prosecution

 history:

        . . . [T]he claimed arrangement has the advantage of preventing the canister from
        rocking towards the position of the dose counter actuation member, which
        rocking can change the height of the actuation member and thereby undesirably
        alter the accuracy of the dose counter. . . .

        Applicant has discovered that by minimizing and/or eliminating the described
        rocking of the canister in the direction of the actuation member, by way of the
        specific positioning of a canister support formation relative to the actuator and
        outlet port, the present invention improves accuracy of such dose counters. Neither
        the problem of canister rocking, nor the solution of specific placement of the
        canister support formation are taught or suggestion by the prior art. . . .


 Def.’s Br. at 15, ECF No. 109. Defendants assert that “the Applicants argued the importance of

 the function of the claimed arrangement—a function that only Defendants’ construction captures.”

 Id. at 16. Contrary to Defendants’ assertions, nothing in this excerpt, including the sections

 emphasized by Defendants, suggests that the Applicants argued that the canister support formation

 must be adjacent to the actuation member.

        Moreover, Defendants argue that their proposed construction is consistent with the

 Examiner’s reasons for allowance. Def.’s Br. at 16. In support of this argument, Defendants note

 that “[i]n the Notice of Allowance, the Examiner explained that ‘[t]he examiner is persuaded that

 rocking by the canister about its central axis in the direction of the actuation member could risk

 triggering false counting, and that a canister support formation directly in line with the actuation

 member and the central canister axis could prevent rocking in this direction and thus reduce false

 counts.’” See id. (citing ’289 Patent Prosecution History, May 20, 2016, Notice of Allowance (Ex.

 7) at 3 (emphasis in original)). Defendants argue that to prevent rocking in the direction of the


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 actuation member, the canister support formation must be located directly adjacent to the actuation

 member. Id. While that may be true, the Examiner did not reach the same conclusion. The

 Examiner merely stated that the “canister support formation directly in line with the actuation

 member and the central canister axis could prevent rocking in this direction and thus reduce false

 counts.” Id. Contrary to Defendants’ assertions, the canister support formation can be directly in

 line with the actuation member without being adjacent to the actuation member.

        Finally, the language that Defendants seek to include in this term—canister support

 formation located directly adjacent to the actuation member—was removed from the claim during

 prosecution. Teva Br. at 20. The Court will not construe this term to include language that the

 Examiner allowed the Applicants to remove during prosecution. Laryngeal Mask Co. v. Ambu,

 618 F.3d 1367, 1372-73 (Fed. Cir. 2010). The plain language of claim 1 of the ’289 and ’587

 Patents require that “the inner wall canister support formation, the actuation member, and the

 central outlet port l[ie] in a common plane coincident with the longitudinal axis X.” ’289 Patent,

 claim 1, 22:9-13. The Patents do not require that the canister support formation and the actuation

 member be adjacent. Therefore, the Court will construe the term to mean the following: “aligned

 in a single plane such that a straight line can be drawn through the center of the central outlet port,

 the canister support formation, and the actuation member.”




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    3. “positioned at opposite ends of the inside surface of the main body to face each
       other”
  Term                 Teva’s Proposed            Defendants’ Proposed       Court’s Construction
                       Construction               Construction
  “positioned at       “located on opposite       “positioned directly       “positioned at opposite
  opposite ends of     sides from one another     across from one            ends of the inside
  the inside surface   on the inside surface of   another such that a        surface of the main
  of the main body     the main body, and         straight line can be       body to face each
  to face each         extending outwardly        drawn from one             other”
  other”               from the inner wall        support rail through the
                       towards each other”        center of the
                                                  longitudinal axis X to
                                                  the facing support rail”


         At issue here is what does “opposite ends” mean in the context of the phrase “positioned

 at opposite ends of the inside surface of the main body to face each other.” Teva contends that

 “opposite ends” needs no construction and should not be interpreted so narrowly as Defendants

 suggest. Teva Br. at 21. Teva doesn’t necessarily explain what “opposite ends” means, but it does

 provide multiple examples for the Court to consider. See id. at 22. For example, Teva states “that

 Los Angeles and Washington, D.C. are at ‘opposite ends’ of the country, even though the line that

 connects them does not pass through the center of the U.S.” Id. Teva also contends that the

 patentee’s choice to use “opposite ends” rather than “diametrically opposed” in the Asserted

 Claims must be credited. Id. at 23.

         Defendants argue that for rails to be positioned at “opposite ends,” the rails must be

 “diametrically opposed” from one another, such that a straight line can be drawn from one support

 rail through the center of the longitudinal axis X to the facing support rail. Def. Br. 38. For

 support, Defendants point the Court to the language of the specification, which provides:

         As shown in FIGS. 7C and 7D, the inner wall 50 of the main body 10 is provided
         with a two-step support rail 144 which extends longitudinally along inside the main
         body and is located directly adjacent the aperture 74. As shown in FIG. 7B a
         diametrically opposed two step support rail 146 is also provided and this
         diametrically opposed in the sense that a vertical plane (not shown) can pass

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         substantially directly through the first rail 144, the aperture 74, a central aperture
         148 of the valve stem block 40 (in which cannister stem 25 is located) and the
         second two-step support rail 146.
 See Def. Br. 38 (citing ECF No. 110-2, Ex. 1, at 15:33-43 (emphasis in original)). In its response,

 Teva contends that this passage does not define “opposite ends”—or even use those words.

 Instead, it uses the distinct term “diametrically opposed” to convey the concept Defendants

 wrongly seek to import via “opposite ends.” Teva Resp. Br. at 13.

         Here, the parties request that court construe a term that has a plain meaning. “When claim

 language has a plain meaning on an issue as the language does here, leaving no genuine

 uncertainties on interpretive questions relevant to the case, it is particularly difficult to conclude

 that the specification reasonably supports a different meaning.” Straight Path IP Grp., Inc. v.

 Sipnet EU S.R.O., 806 F.3d 1356, 1361 (Fed. Cir. 2015). This Court therefore concludes that no

 construction is necessary and declines to adopt the parties’ proposed constructions.

    4. “step formed thereon”
  Term                 Teva’s Proposed            Defendants’ Proposed       Court’s Construction
                       Construction               Construction
  “step formed         “a location of changing    “A stepwise increase in    “a location of changing
  thereon”             width dimension            the extent to which the    width dimension
                       thereon”                   support rail extends       thereon”
                                                  inwardly”


         The dispute between the parties centers on how to define the term “step” in the phrase “step

 formed thereon.” Defendants contend that the terms should be construed to mean “a stepwise

 increase in the extent to which the support rail extends inwardly.” Def.’s Br. at 39, ECF No. 109.

 In support of their construction, Defendants point the Court to the specification in the ’289 Patent.

 Id. at 40. Defendants argue that the specification describes the rails in terms of the extent that the

 rail extends inwardly (width) at a particular portion of the rail. According to Defendants, for the



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 rail to have a step, the rail must have a portion that extends inwardly to one extent, and another

 portion that extends inwardly to a different extent from the first portion. Id.

         Teva argues that Defendants’ construction seeks to exclude very specific embodiments

 from the scope of the Asserted Claims. Teva Br. at 24. Teva contends that the “preferred

 embodiment of Figure 7C plainly shows that step 164 is both the end of a support rail, and reflects

 a gradual change in support rail width.” Id. at 25. In response, Defendants argue that under Teva’s

 proposed construction, the support rail can literally have no steps (such as a gradual slope down

 the entire rail) and still include “a step formed thereon.” Def.’s Resp. Br at 29, ECF No. 115.

         The Court’s construction is supported by the specification. See ’289 Patent, 7:1-7, ECF

 No. 109-2 (“Each said rail may be stepped, in that it may have a first portion located towards a

 medicine outlet end or stem block of the canister housing which extends inwardly a first distance

 from a main surface of the inner wall . . .”). Although Defendants argue that this construction

 would include a support rail with no steps, the construction is consistent with the specification and

 description of the embodiments from the scope of the asserted claims.

    5. “aperture”
  Term                 Teva’s Proposed           Defendants’ Proposed Court’s Construction
                       Construction              Construction
  “aperture”           “an opening or open       “hole”                     “an opening or open
                       space: hole”                                         space: hole”


         The parties propose similar constructions for this disputed term. Teva’s construction is

 defined more broadly and includes “an opening or open space.” Defendants contend that aperture

 should be construed as a “hole” because Teva’s construction is “so vague as to create more issues

 than it resolves.” Def. Br. at 41. Teva counters that Defendants’ construction reflects a truncated

 version of the plain and ordinary meaning of the word “aperture,” and is flatly inconsistent with

 the term’s broader use in the specification. Teva Br. at 26. Teva claims that its construction comes

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 from the Merriam Webster’s Collegiate Dictionary and is consistent with the Asserted Patents

 claims.

           Notwithstanding the above, Defendants admit that the Patent does not “explicitly define”

 the term “aperture” to mean “hole.” Def.’s Br. 41. The term “aperture” was not limited in the

 Asserted Patents, so the Court will stay true to the claim language and not limit its construction as

 Defendants suggest. The Court will adopt Teva’s construction, which is consistent with the plain

 meaning of aperture, the descriptions in the specification and supported by extrinsic evidence.

    6. “count pawl”
  Term                      Teva’s Proposed          Defendants’               Court’s
                            Construction             Proposed                  Construction
                                                     Construction
  “count pawl”              “a pawl that is a        “a pawl that is part of   “a pawl that is part of
                            component of the         the dose counter,         the dose counter,
                            dose counter that is     separate from an          separate from an
                            capable of engaging      actuator pawl, that is    actuator pawl, that is
                            with a second tooth      arranged to engage        arranged to engage
                            of the rachet wheel”     with a second tooth       with a second tooth
                                                     different from the        of the rachet wheel”
                                                     first tooth of the
                                                     ratchet wheel”


           The primary disputes between the parties are whether the construction must structurally

 differentiate “the count pawl” from the actuator pawl, and whether the count pawl need only be

 “capable of” engaging with a second tooth of the rachet wheel. The Court’s construction is

 consistent with the intrinsic evidence. Claim 1 of the ’156 Patent recites “the dose counter”

 comprises the “actuator comprising an actuator pawl” and “a count pawl arranged to engage with

 a second tooth of the ratchet wheel[.]” ’156 Patent, Claim 1, ECF No. 109-4 at 32. This claim

 makes it clear that the actuator pawl is part of the actuator, and the actuator and the count pawl are

 both parts of the dose counter. Thus, the actuator pawl and count pawl are separate components

 on the same structure—the dose counter.

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         Moreover, claim 1 recites “a count pawl arranged to engage with a second tooth of the

 ratchet wheel[.]” Id. (emphasis added). The claim expressly limits the count pawl to engaging

 with the second tooth. The claim is silent as to whether the count pawl may engage the first tooth

 or any other tooth. Thus, the Court will stay true to the claim and construe the term “count pawl”

 to mean the following: “a pawl that is part of the dose counter, separate from an actuator pawl, that

 is arranged to engage with a second tooth of the rachet wheel.”

    7. “canister fire sequence”
  Term                     Teva’s Proposed          Defendants’               Court’s
                           Construction             Proposed                  Construction
                                                    Construction
  “canister fire           “a sequence of           “process of ejecting      “a series of
  sequence”                configurations and       medicament from an        configurations or
                           positions that occur     inhaler where the         positions that occur
                           before, while, and       actuator pawl follows     during the process of
                           after the medicament     a particular sequence     ejecting medicament
                           canister fires           of movement from          from an inhaler
                           medicament”              the start configuration   where the actuator
                                                    to the reset              pawl follows a
                                                    configuration, to the     particular sequence of
                                                    fire configuration, to    movement from the
                                                    the count                 first reset position, to
                                                    configuration, before     the canister fire
                                                    returning to the start    configuration, and
                                                    configuration upon        then to the count
                                                    release of pressure on    configuration”
                                                    the canister, where in
                                                    the start
                                                    configuration, prior
                                                    to depression of the
                                                    canister, the count
                                                    pawl is engaged
                                                    with a tooth of the
                                                    ratchet wheel and the
                                                    actuator pawl is
                                                    spaced from the
                                                    ratchet wheel”




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        Defendants argue that it is undisputed that the “canister fire sequence” refers to a series of

 configurations or positions that occur during “the process of ejecting medicament from an inhaler.”

 Def.’s Br. at 19. The parties dispute, however, whether the sequence of configurations must occur

 in a particular order. Id. In support of their position, Defendants point to the specification and

 Applicants’ prosecution history. Id. Defendants note that the patent describes the sequence of

 configurations in the following order: “‘start configuration’ followed by the ‘first reset position’

 followed by the ‘canister fire configuration’ followed by the ‘count configuration.’” Id. (citing

 ’289 Patent (Ex. 1) at 14:9-15:12). In further support of their proposed construction, Defendants

 contend that the Applicants highlighted the necessity of this particular order during prosecution.

 Id. Defendants note that during prosecution the Applicants argued that “the prior art Bowman

 reference did not disclose a first reset position, a canister fires configuration, which is after the

 first reset position, and a count configuration, which is after the canister fire configuration.” Id.

 (citing ’156 Patent, Prosecution History, April 20, 2017 Office Action Response (Ex. 11) at 7).

 Finally, Defendants argue that the configurations must be located in the datum plane.

        In response, Teva contends that it does not dispute that claim 1 requires the “first reset

 position,” “canister fire configuration,” and “count configuration” to “occur” in that “particular

 order.” Teva Resp. Br. at 16. Teva disputes that Defendants cannot import the following

 limitations into the term:

        •   “from the start configuration to the reset configuration”;
        •   “before returning to the start configuration upon release of pressure on the
            canister”;
        •   “where in the start configuration, prior to depression of the canister, the count
            pawl is engaged with a tooth of the ratchet wheel and the actuator pawl is spaced
            from the ratchet wheel.”

 Id. The Court agrees.




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         Defendants’ proposed construction imposes limitations that are not supported by the

 intrinsic record. For example, Defendants’ proposed construction requires that “in the start

 configuration, prior to depression of the canister, the count pawl is engaged with a tooth of the

 ratchet wheel” and that the “actuator pawl” return “to the start configuration upon release of

 pressure on the canister, where . . . the actuator pawl is spaced from the ratchet wheel.” Def.’s Br.

 at 19. These limitations are not supported by the claims or specification. Although Teva’s

 proposed construction does not include inappropriate limitations, the Court will construct “canister

 fire sequence” to include the order which claim 1 requires. “Canister fire sequence” means “a

 series of configurations or positions that occur during the process of ejecting medicament from an

 inhaler where the actuator pawl follows a particular sequence of movement from the first reset

 position, to the canister fire configuration, and then to the count configuration.”

    8. “first reset position”
  Term                     Teva’s Proposed           Defendants’              Court’s
                           Construction              Proposed                 Construction
                                                     Construction
  “first reset position”   “a position of the        “configuration in        “a position of the
                           actuator in which the     which the actuator       actuator in which the
                           actuator pawl is          pawl is above            actuator pawl is
                           brought into              the datum plane, but     brought into
                           engagement with the       closer to the datum      engagement with the
                           first tooth of the        plane than               first tooth of the
                           ratchet wheel and         in the start             ratchet wheel and
                           which is before the       configuration, and is    which is before the
                           fire configuration”       just engaged with        fire configuration”
                                                     one of a tooth of the
                                                     ratchet wheel”


         The parties dispute whether “first reset position” should include location limitations. Claim

 1 of the ’156 Patent provides that “the actuator is arranged to define a first reset position in which

 the actuator pawl is brought into engagement with the first tooth[.]” ’156 Patent, Claim 1, ECF

 No. 110-2, Ex. 3. The parties agree that in this configuration, the actuator pawl is just engaged

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 with a tooth of the ratchet wheel. Def.’s Br. at 20; Teva Br. at 31. Nevertheless, Defendants point

 to the specification and argue that the patent makes clear that this configuration has a specific

 location with respect to the datum plane, and the other configurations in the claimed “canister fire

 sequence.” Def.’s Br. at 20. The Court disagrees. Nothing in the plain and ordinary meaning of

 claim 1’s language imposes such limitations. Absent such language, the proper construction of

 the claim language must stay true to the claim language to avoid giving invention-defining effect

 to specification language included for other descriptive and enablement purposes. See Straight

 Path, 806 F.3d at 1361.

         Teva’s proposed construction is consistent with the language of the claim. Accordingly,

 the Court will adopt Teva’s proposed construction, which is consistent with the intrinsic record.

    9. “canister fire configuration”
  Term                     Teva’s Proposed          Defendants’               Court’s
                           Construction             Proposed                  Construction
                                                    Construction
  “canister fire           “a configuration of      “configuration in         “a configuration of
  configuration”           the dose counter in      which the actuator        the dose counter in
                           which the                pawl is lower             which the
                           medicament canister      than in the first reset   medicament canister
                           fires medicament”        position and below        fires medicament”
                                                    the datum
                                                    plane and the
                                                    medicament is
                                                    ejected”


         The parties dispute whether “canister fire configuration” should include location

 limitations. Claim 1 of the ’156 Patent provides that “at a canister fire configuration, the

 medicament canister fires medicament before the dose counter reaches a count configuration[.]”

 ’156 Patent, Claim 1, ECF No. 110-2, Ex. 3. The parties agree that in this configuration, the

 medicament canister fires. Def.’s Br. at 21; Teva Br. at 31. Nevertheless, Defendants argue that

 the patent, makes clear that this configuration has a specific location with respect to the datum

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 plane, and the other configurations in the claimed “canister fire sequence.” Def.’s Br. at 21. In

 support of their argument, Defendants point the Court to Figures in the Patent, which Defendants

 argue explains actuator pawl is lower than in the first reset position and below the datum plane.

 Id. The Court disagrees. Nothing in the plain and ordinary meaning of claim 1’s language imposes

 a location limitation. Teva’s proposed construction is consistent with the language of the claim.

 Accordingly, the Court will adopt Teva’s proposed construction, which is consistent with the

 intrinsic record.

     10. “count configuration”
  Term                     Teva’s Proposed           Defendants’              Court’s
                           Construction              Proposed                 Construction
                                                     Construction
  “count configuration” “a configuration of          “configuration in        “a configuration of
                        the dose counter             which the actuator       the dose counter
                        whereby the dosage           pawl is further          whereby the dosage
                        indicator has                below the datum          indicator has
                        indicated a count”           plane than when in       indicated a count”
                                                     the canister fire
                                                     position and the dose
                                                     counter has counted
                                                     one dose”


         The parties dispute whether “count configuration” must occur in a specific location. Claim

 1 of the ’156 Patent provides that “the count pawl resiliently jumps over the second tooth and the

 dose counter reaches the count configuration, whereby the dosage indicator has indicated a

 count[.]” ’156 Patent, Claim 1, ECF No. 110-2, Ex. 3. The parties agree that in this configuration,

 the dose counter counts a dose. Def.’s Br. at 22; Teva Br. at 31. Nevertheless, Defendants again

 argue that the patent, makes clear that this configuration has a specific location with respect to the

 datum plane, and the other configurations in the sequence. Def.’s Br. at 22. In support of their

 argument, Defendants point the Court to Figures in the Patent, which Defendants argue explains

 actuator pawl is below the datum plane and lower than in the fire configuration. Id. The Court

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 disagrees. Nothing in the plain and ordinary meaning of claim 1’s language imposes a location

 limitation.   Teva’s proposed construction is consistent with the language of the claim.

 Accordingly, the Court will adopt Teva’s proposed construction, which is consistent with the

 intrinsic record.

     11. “datum plane which passes through a shoulder of a valve stem block configured to
         receive the medicament canister”
  Term                     Teva’s Proposed          Defendants’              Court’s
                           Construction             Proposed                 Construction
                                                    Construction
  “datum plane which       “a plane that passes     “plane or line passing   “datum plane which
  passes through a         through a shoulder of    through the bottom       passes through a
  shoulder of a valve      the portion of the       surface of a structure   shoulder of a valve
  stem block               inhaler body that        into which the valve     stem block
  configured to receive    engages the valve        stem of a medicament     configured to receive
  the medicament           stem and is              canister is inserted,    the medicament
  canister”                perpendicular to the     wherein the bottom       canister”
                           direction of             surface is where the
                           movement of the          valve stem block
                           medicament canister”     meets a passageway
                                                    to a nozzle for
                                                    directing the canister
                                                    contents towards an
                                                    air outlet”


         Claim 1 of the ’156 Patent provides that “in the canister fire configuration, the actuator

 pawl is below a datum plane which passes through a shoulder of a valve stem block configured to

 receive the medicament canister.” 156 Patent, Claim 1, ECF No. 109-4 at 32. The parties dispute

 centers on the construction of “a shoulder of a valve stem block.” Defendants contend that there

 needs to be clarity on “what a shoulder is” and how to identify “a plane passing through a

 shoulder.” Def.’s Br. at 23. In construing the phrase, Defendants point to the specification and

 Figures 9 and 3A to identify the structures surrounding the valve stem block. See id. at 24.

 Defendants note that “the only passage in the entire patent that describes the location of the

 datum plane states that it ‘passes through [a/the] bottom surface or shoulder 42 of valve stem block

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 40.’” Def.’s Resp. Br. at 13 (citing ECF No. 109-2, Ex. 1 at 14:17-19) (emphasis in original). As

 a result, Defendants contend that “a shoulder is a bottom of the valve stem block” and that their

 construction clearly describes how to identify the “shoulder” or “bottom surface” of the valve stem

 block. Id.

        Teva contends that Defendants’ proposal imports extraneous limitations that run contrary

 to bedrock principles of claim construction. Teva argues that Defendants seek to rewrite the claim

 such that the “datum plane” need not pass through “a shoulder” of the valve stem block, as the

 claims provide, but instead must pass through the “bottom surface” of the valve stem block, which

 according to Defendants, is the location “where the valve stem block meets a passageway to a

 nozzle for directing the canister contents towards an air outlet.” Teva Br. at 39. “Given that the

 language surrounding ‘datum plane’ in claim 1 clearly defines the term,” Teva argues that no

 construction of the term is necessary. Teva Br. at 38-39. The Court agrees.

        Defendants’ construction which seeks to limit the meaning of “shoulder” to one specific

 location in the “valve stem block” is not supported by extrinsic or intrinsic evidence. In arguing

 that the specification uses the term “shoulder” to refer to “the bottom surface of the valve stem

 block,” Defendants ignore the claim language itself, which is part of the specification and defines

 the scope of the claimed inventions. Phillips, 415 F.3d at 1312. The claim requires that a datum

 plane pass through “a shoulder” of “a valve stem block.” “A shoulder”—rather than “the

 shoulder”—obviously means that there can be more than one shoulder, which the claim does not

 limit to any particular area of the valve stem block as Defendants suggest. Thus, Defendants’

 construction which limits the “shoulder” to the “bottom surface” is not consistent with the claim.

        Here, the parties do not dispute the meaning of “datum plane” or “a valve stem block.” In

 the context of this claim, POSA would be able to identify a “datum plane which passes through a



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 shoulder of a valve stem block configured to receive the medicament canister.” Accordingly, the

 Court finds that no construction of the term is necessary.

    12. “counter display arranged to indicate dosage information”
  Term                     Teva’s Proposed          Defendants’             Court’s
                           Construction             Proposed                Construction
                                                    Construction
  “counter display         “a component of the      “structure displaying   “counter display
  arranged to indicate     dose counter that        the number of doses     arranged to indicate
  dosage information”      displays information     remaining”              dosage information”
                           regarding the number
                           of doses remaining”


         The parties dispute whether the phrase “counter display arranged to indicate dosage

 information,” which appears in ’808 Patent, requires further construction. See ’808 Patent, Claim

 1, ECF No. 110-2. Teva argues that the term requires no construction; but if construction is

 necessary, the Court should define “counter display arranged to indicate dosage information” as

 “a component of the dose counter that displays information regarding the number of doses

 remaining.” Teva Br. at 50-51. In contrast, Defendants assert that the proper construction is

 “structure displaying the number of doses remaining.” Def.’s Br. at 25.

         The Court finds that no construction is necessary here because the terms are not technical

 but rather reflect common usage. Green Pet Shop Enters., LLC, 2021 WL 5450185, at *5. In any

 event, Defendants’ proposed construction is undercut by the caselaw. Defendants’ proposed

 construction is based on Figures included in the ’289 Patent, which they argue “properly identifies

 the ‘counter display’ as ‘a structure.’” Def.’s Br. at 26. But claims and patents must be viewed in

 their entirety and not cherry-picked in a vacuum; further, “[c]laims, not the specification

 embodiments, define the scope of protection.” Dow Chem. Co. v. Sumitomo Chem. Co., 257 F.3d

 1364, 1378 (Fed. Cir. 2001) (emphasis omitted); see also Medrad, Inc., 401 F.3d at 1319 (“We

 cannot look at the ordinary meaning of the term . . . in a vacuum. Rather, we must look at the

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 ordinary meaning in the context of the written description and the prosecution history.”). The

 Court finds that the plain and ordinary meaning of the claim language controls, and no further

 claim construction is needed.

     13. “first station” / “second station”
  Term                     Teva’s Proposed           Defendants’                Court’s
                           Construction              Proposed                   Construction
                                                     Construction
   “first station”         “a first region”          “first structure on        “a first region”
                                                     which the counter
                                                     display is located”
  “second station”         “a second region”         “second structure,         “a second region”
                                                     separate from the
                                                     first structure, on
                                                     which the counter
                                                     display is located”


         The parties dispute whether a “first” and “second” station of the dose counter must be

 physically separate structures on which the counter display is located. Teva argues if the

 construction is necessary the Court should construe the terms as “a first region” and “a second

 region.” Teva Br. at 53. Defendants, on the other hand, argue that the proper construction is the

 “first structure on which the counter display is located” and “second structure, separate from the

 first structure, on which the counter display is located.” Def.’s Br. at 28.

         In opposition to Defendants’ proposed construction, Teva argues that the claims do not

 require that the first and second station be separate structures. Id. Teva points to the “Summary

 of Invention,” which provides that “first station may comprise a region of the dose counter,” and

 that region may be located before a display location, such as a display window, for the counter

 indicia. ’808 Patent, 2:65-67. Teva argues that this “language makes it clear that a ‘station’ of the

 dose counter is a location or region, not an independent structure.” Id.




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           In further opposition of Defendants’ proposed construction, Teva argues that the claims

 also support Teva’s proposed construction. Id. at 54. Teva points to claim 23 of the ’808 Patent,

 which provides that the “second shaft . . . is located at the second station.” Id. (citing ’808 Patent,

 Claim 23, ECF No. 110-2 at 133. According to Teva, “Claim 23 thus refers to a structure (“second

 shaft”) located at a region (“second station”), in the same way that one might say the house (a

 structure) is located at the corner (a location).” Teva Br. at 54.

           Defendants counter that the specification supports their construction because it “repeatedly

 explains that the tape is held on a structure.” Def.’s Resp. Br. at 18. Defendants then point to

 various examples throughout the Patent that identifies “stock bobbin” and “tape.” Id. Based on

 these examples, Defendants argue that the “first station” is a structure on which the counter display

 is located. Id. at 19. Defendants further argue that the claims and specification similarly make

 clear that the second station is a separate structure. Defendants note, for example, that the

 specification provides that the second shaft may be . . . spaced from and parallel to the first

 shaft.”     Id. (citing ’808 Patent at 13:3-8).     Finally, Defendants argue that their proposed

 construction is consistent with the plain meaning in view of the specification and the scope of the

 actual invention and should be adopted.

           The Court disagrees with Defendants’ argument that the claims and specifications require

 that the first and second stations be separate structures. The Court is persuaded by Teva’s

 argument which is consistent with the intrinsic record. As Teva noted, the specification and claims

 make clear that “first station” and “second station” are a “location or region, not an independent

 structure.” Claim 23 of the ’808 Patent provides that the “second shaft . . . is located at the second

 station, the second shaft being rotatable to wind the tape onto the second shaft.” ’808 Patent, Claim

 23, ECF No. 110-2 at 133. This language makes clear that the shaft is a structure, and the second



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 station is where the structure is located. Accordingly, the Court finds Teva’s construction to be

 appropriate and will adopt Teva’s construction.

    14. “separate counter chamber” / “dose counter chamber”
  Term                      Teva’s Proposed         Defendants’              Court’s
                            Construction            Proposed                 Construction
                                                    Construction
  “separate counter         “a separate chamber     “discrete space or       “a separate chamber
  chamber”                  of the inhaler in       cavity defined by the    of the inhaler in
                            which the dose          main surface of the      which the dose
                            counter is located”     inner walls and the      counter is located”
                                                    inner wall through
                                                    which a portion of the
                                                    actuation member
                                                    extends in which the
                                                    dose counter is
                                                    located”
  “dose counter             “a chamber of the       “space or cavity         “a chamber of the
  chamber”                  inhaler in which the    defined by the main      inhaler in which the
                            dose counter is         surface of the inner     dose counter is
                            located”                walls and the inner      located”
                                                    wall through which a
                                                    portion of the
                                                    actuation member
                                                    extends in which the
                                                    dose counter is
                                                    located”


         As Defendants note, these two claim phrases are grouped together because the dispute for

 both centers on the term “chamber.” In more specific terms, Teva contends that the parties’ dispute

 is limited to a simple issue:

         whether the recitation of a “counter chamber” in claims 2 and 3 of the ’512 Patent
         and claim 12 of the ’156 Patent require that the claimed system include such a
         chamber, or whether it requires that the chamber be created by two particular walls
         of the inhaler body.

 Teva Br. at 43. Teva claims that the clear answer is the former and argues that the relevant claims

 of the ’512 and ’156 Patents do not impose any requirements as to how the counter chamber is

 formed. Id. Teva further argues that Defendants’ constructions seek to import extraneous

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 limitations that the law does not allow courts to introduce. Id. at 43-44. Defendants counter that

 their proposed construction provides the structural requirements of the chambers and its relation

 to the other components of the inhaler. See Def.’s Br. at 30.

        In opposition to Teva’s proposed construction, Defendants contend that claim 2 specifies

 that “a dose counter chamber” is “formed in the body” and that this “wording indicates that the

 ‘chamber’ is not simply an area or open space in where the dose counter is positioned. Rather, the

 phrase ‘formed in the body’ indicates that the dose counter ‘chamber’ must have some structural

 definition in the body.” Id. Moreover, Defendants note that “claim 3 recites a cover that conceals

 the dose counter chamber indicating the dose counter chamber is defined space within the body.”

 See id. (citing ’512 Patent (Ex. 5) at claim 3 (“a cover . . . to conceal the dose counter chamber”)).

 In further support of their argument, Defendants point the Court to the ’289 Patent, which provides:

        The inhaler main body may include a canister receiving portion and a separate
        counter chamber, the dose counter being located within the main body thereof, the
        incremental output member and actuator thereof inside the counter chamber, the
        main body of the inhaler having wall surfaces separating the canister-receiving
        portion and the counter chamber, the wall surfaces being provided with a
        communication aperture, an actuation member extending through the
        communication aperture to transmit canister motion to the actuator.

 Def.’s Br. at 31 (citing ’289 Patent (Ex. 1) at 6:24-37 (emphasis added)). Defendants argue that

 the specification makes clear that there are two separate chambers within the inhaler main body.

 Id.

        In response, Teva argues that nothing in the claims or specification provides that a “counter

 chamber” must be defined or created by the walls of the inhaler body. Teva Resp. Br. at 39. Teva

 notes that Claim 2 of the ’512 Patent, for example, merely sets out the spatial relationship between

 the dose counter chamber, medicament canister, and body of the inhaler by providing that the dose

 counter chamber is located within the inhaler body at “a location beneath the medicament



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 canister.” Teva further notes that claim 12 of the ’156 Patent is similar and provides that the body

 of the inhaler “includes a canister-receiving portion and a separate counter chamber.” Id. That

 claim also provides that the body of the inhaler has “wall surfaces separating the canister-receiving

 portion and the counter chamber.” But as Teva correctly notes, the claim does not require, or even

 suggest, that the counter chamber is formed exclusively by these “wall surfaces.” Thus, the Court

 finds that the claim language requires only that the counter chamber be located in the inhaler body

 and be separate from the medicament receiving portion. Accordingly, the Court will adopt Teva’s

 proposed constructions.



    15. “the body”
  Term                     Teva’s Proposed          Defendants’              Court’s
                           Construction             Proposed                 Construction
                                                    Construction
  “the body”               “inhaler body” - ’156    Indefinite
                           Patent, 22:64, 67

                           “dose counter body” -
                           ’156 Patent, 22:66


         Defendants advance an indefinite challenge with respect to “the body.” Defendants argue

 this term is indefinite because a POSA would not understand the meaning of the term “body” in

 claim 12. Def.’s Br. at 33-34. Defendants argue that when claims 1 and 11 are read together there

 is only one element that is “the body:” the inhaler body. Id. at 33. Claim 12, however, recites “the

 body, ratchet wheel and actuator being located inside the counter chamber.” Id. Defendants argue

 that the claim as written is indefinite because the only body for which there is antecedent basis is

 “the body of the inhaler.” Id. at 34. According to Defendants, the claim recites: “An inhaler as

 claimed in claim 11 in which [the body of the inhaler] includes a canister receiving portion and a

 separate counter chamber; [the body of the inhaler], ratchet wheel and actuator being located inside

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 the counter chamber . . . .”       Id.   Defendants argue that “[t]he counter chamber cannot

 simultaneously include a separate counter chamber and be located inside the counter chamber.”

 Id. Thus, Defendants contend that “[w]hen read with the only antecedent basis available, the claim

 is non-sensical, impossible to understand, and insolubly indefinite.” Id.

        In response, Teva argues that intrinsic record makes clear, however, that the POSA would

 understand “body” to refer to either the inhaler body or the dose counter body, depending on the

 context in which the term is used. Teva Resp. at 24. Teva also argues that Defendants’

 indefiniteness argument is premature. Teva Br. at 46. Citing to various courts in this district, Teva

 argues that indefiniteness arguments are best reserved for trial, because of the “high burden of

 proof on a party challenging the patent based on indefiniteness,” the dispositive nature of the

 ruling, and the lack of expert testimony at claim construction.          Id. (citing Adapt Pharma

 Operations Ltd. v. Teva Pharm. USA, Inc., No. 16-7721-JLL, 2019 WL 1789463, at *4 (D.N.J.

 Apr. 24, 2019); Int’l Dev. LLC v. Richmond, No. 9-2495-GEB, 2010 WL 4703779, at *6 (D.N.J.

 Nov. 12, 2010)). The Court agrees. It is not uncommon for courts to defer ruling on an

 indefiniteness challenge at the claim construction stage where such a ruling would be better suited

 for trial. See Adapt Pharma Operations, No. CV 16-7721, 2019 WL 1789463, at *4 (citing Alcon

 Research, Ltd. v. Barr Labs. Inc., No. 09-0318, 2011 WL 3901878, at *16 (D. Del. Sept. 6, 2011)

 (collecting cases)). Because the indefiniteness argument in this claim construction is “potentially

 dispositive, require[s] a high burden of proof, and may more profitably be considered in connection

 with patent validity,” the Court declines to rule on the indefiniteness of “the body” at the claim

 construction stage. See Adapt Pharma Operations, No. CV 16-7721, 2019 WL 1789463, at *4

 (citing Fresenius Kabi USA, LLC v. Fera Pharm., LLC, No. 15-3654, 2016 WL 5109142, at *9

 (D.N.J. Sept. 20, 2016)).



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    16. “different sides”
  Term                      Teva’s Proposed         Defendants’               Court’s
                            Construction            Proposed                  Construction
                                                    Construction
  “different sides”         “not the same side”     “distinct surfaces        “different sides”
                                                    where each
                                                    pin/aperture of the
                                                    chassis connects to
                                                    a different face of the
                                                    body”


         The parties dispute whether the term “different sides” requires that the pin/aperture

 connections are on different surfaces. There is no such requirement in the language of the claim.

 Claim 1 of the ’512 Patent provides that “either the pins or the apertures on the chassis are

 positioned on different sides of the chassis for stabilizing the chassis on the body[.]” ’512 Patent,

 Claim 1 (Ex. 5). Teva argues that “different sides” does not require any construction. Teva Br. at

 54. Defendants, on the other hand, argue that the proper construction is the “distinct surfaces

 where each pin/aperture of the chassis connects to a different face of the body.” Def.’s Br. at 34.

         In support of their proposed construction, Defendants point the Court to the prosecution

 history of a related application that is not at issue. In so doing, Defendants ignore the claim

 language, which, in general terms, provides that the pins or apertures are not positioned on the

 same side of the chassis. See ’512 Patent, Claim 1 (Ex. 5). Defendants also point the Court to

 various Figures, which they claim support their proposed construction. Def.’s Br. at 35. Teva

 counters arguing that “several figures in the specification undercut Defendants’ position.” Teva

 Br. at 55. For example, the preferred embodiment illustrated in Figures 6B and 6C show that

 apertures 188, 190, 192 are formed on three different sides of the chassis and Figures 8B and 8C

 show two pins on the inhaler that are located on the same face of the body. Id. Under Defendants’

 proposed construction, Teva’s preferred embodiments would be excluded. See, e.g., Epos Techs.


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 Ltd. v. Pegasus Techs. Ltd., 766 F.3d 1338, 1347 (Fed. Cir. 2004) (“[A] claim construction that

 excludes a preferred embodiment . . . is rarely, if ever correct and would require highly persuasive

 support.”). Accordingly, the Court declines to adopt Defendants’ proposed construction, finds that

 the plain and ordinary meaning of the claim language controls, and no further claim construction

 is needed.

       17. “formed in the body”

  Term                      Teva’s Proposed          Defendants’              Court’s
                            Construction             Proposed                 Construction
                                                     Construction
  “formed in the body”      “located in the body”    “an integrated part of   “formed in the body”
                                                     the body”


          The main dispute between the parties is whether the structure that forms the dose counter

 chamber in the body is an integrated part of the body, or not necessarily part of the body but located

 in the body. Defendants contend that the specification and figures make plain that the dose counter

 chamber is formed by walls of the body and is therefore “an integrated part of the body.” Def.’s

 Br. at 37. In contrast, Teva argues that the term requires no construction; but if construction is

 necessary, the Court should define “formed in the body” as “located in the body.” Teva Br. 56-

 57.

          In support of their proposed construction, Defendants point to claim 2 of the ’512 Patent.

 Def.’s Br. at 37. Defendants argue that in claim 2 the “‘dose counter chamber’ is defined by the

 inner walls of the main body and the inner wall separating the dose counter chamber from the

 canister chamber, i.e., the separator wall 76.” Id. (emphasis in original). Based on this, Defendants

 argue that “[t]he inner walls of the main body are obviously an ‘integrated’ part of the body.” Id.

 Finally, Defendants contend that “the separator wall is depicted in the figures as integrated with

 the inner walls of the main body.” Id.


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        Teva argues that Defendants’ proposal, in effect, rewrites the claim by changing the

 locational requirement “formed in the body” to the compositional requirement “created by the

 body.” Teva Br. at 57 (emphasis in original). Teva notes that “formed in the body” merely

 indicates that the dose counter chamber has to be located inside, rather than outside of the body of

 the inhaler. Id. Teva argues that “[i]t does not impose any additional restrictions on how the dose

 counter chamber was made, what structures form the boundaries of the chamber, etc.” Id.

        Claim 2 of the ’512 Patent, expressly provides that “[t]he inhaler as claimed in claim 1,

 wherein the dose counter is positioned in a dose counter chamber that is formed in the body at a

 location beneath the medicament canister.” ’512 Patent, Claim 2, ECF No. 109-6. Contrary to

 Defendants assertion, nothing in claim 2 of the ’512 Patent requires that “the dose counter chamber

 is formed by walls of the body.” Def.’s Br. 37 (emphasis in original). Based on the plain language

 of the claim, the dose counter chamber is “formed in the body at a location beneath the medicament

 canister.” ’512 Patent, Claim 2, ECF No. 109-6. As Teva correctly notes, “[t]hat language limits

 the dose counter’s location, not which surfaces must create it.” Teva Resp. Br. at 38. When

 reading the term “formed in the body” in context with the entire claim, the Court finds that “formed

 in the body” is a term that a POSA would understand. Accordingly, the Court finds that the plain

 and ordinary meaning of the claim language controls, and no further claim construction is needed.

        IV.     CONCLUSION
        For the reasons stated above, this Court construes the disputed claims as set forth in this

 Opinion. An appropriate order follows.

                                                      s/ Julien Xavier Neals
        DATED: November 11, 2022                      JULIEN XAVIER NEALS
                                                      United States District Judge




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